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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re: Application Pursuant to         )
28 U.S.C. 1782 of                      )
                                       )
FARHAD AZIMA                           )                  Case No.: 22-20707-MC-MARTINEZ
                                       )
           Petitioner,                 )
v.                                     )
                                       )
INSIGHT ANALYSIS AND RESEARCH,         )
LLC, and SDC-GADOT LLC,                )
                                       )
           Respondents,                )
                                       )
_______________________________________)

   RESPONDENTS’ OBJECTIONS TO MAGISTRATE’S ORDERS AND REQUEST FOR
      DISTRICT COURT REVIEW PER LOCAL RULE 4, AND PER 28 USC § 636

      Respondents, INSIGHT ANALYSIS AND RESEARCH, LLC and SDC-GADOT, LLC, by

and through the undersigned attorneys, hereby file this, their Objections to Magistrate’s Orders and

Request for District Court Review per Local Rule 4 and 28 USC § 636, as follows:

   1. After the Petitioner initiated this 28 USC § 1782 discovery proceeding on March 8, 2022, this

      Court conducted a review of the Petitioner’s filed materials, and thereafter entered DE 5,

      which states, in part, as follows:

             1. The Application (ECF No.1) is GRANTED.

             2. Petitioner is GRANTED leave to serve Insight Analysis and Research LLC and
             SDC-Gadot LLC with a subpoena for the production of documents and electronically
             stored information responsive to the categories of information and requests set forth in
             Exhibit H to the Application, (ECF No. 1-11), consistent with Rules 34 and 45 of the
             Federal Rules of Civil Procedure.

             3. Respondents shall comply with such subpoenas in accordance with, and subject to,
             her rights under the Federal Rules of Civil Procedure and the Rules of this Court.

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2. Thereafter, Petitioner served copies of the subject document production subpoenas (as

   proffered as Exhibit “H” to his Petition and as approved by this Court in DE # 5) upon the

   registered agent (Shimon Goldberger) for both Respondent entities.

3. Neither Respondent possessed a local agent or employee, and Mr. Goldberger sent the served

   document production subpoenas via e-mail to a foreign representative, which was not received

   when initially sent as Mr. Goldberger used an invalid e-mail address for Mr. Amit Forlit (the

   foreign party to whom Mr. Goldberger sent the document production subpoenas via e-mail).

4. Thereafter, and without obtaining leave of Court, the Petitioner issued and sent via e-mail

   copies of Rule 30(b)(6) deposition notices for remote depositions to each Respondent (and an

   individual non-party, Amit Forlit).

5. Again, the Respondents possessed no local agent who could appear physically for the

   unauthorized depositions, and no party attended the depositions on the date originally set by

   the Petitioner.

6. Thereafter, a limited notice of appearance, and a Motion to Quash and Motion for Protective

   Order, were filed by your undersigned on behalf of non-party AMIT FORLIT (See DE #7).

7. This Court then issued DE #8, which referred non-party AMIT FORLIT’S Motion to be

   presided over by Magistrate Judge Becerra.

8. Magistrate Judge Becerra’s office requested the parties provide dates of availability for a

   hearing on AMIT FORLIT’S Motion. In response, counsel for the Petitioner advised that

   Petitioner would be filing a Response to the Motion, and also a Cross-Motion to Compel

   directed to these Respondents. Thereafter, the Court set a hearing for June 6, 2022 to address

   AMIT FORLIT’s Motion, and Petitioner’s Response and Cross-Motion.



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9. Though no Order of referral was ever issued for the Petitioner’s Cross-Motion, Magistrate

   Judge Becerra heard the Cross-Motion on June 6, 2022, and an Order reflecting the ruling was

   thereafter entered on June 8, 2022 (See DE # 21).

10. As reflected in the hearing transcript for the June 6, 2022 hearing (See DE # 30), the Cross-

   Motion was addressed by Magistrate Judge Becerra first, as no counsel of record had yet

   appeared in this action on behalf of these Respondents. From the outset, Magistrate Judge

   Becerra assumed that this Court had issued authority for service of a) document production

   subpoenas, and b) Rule 30(b)(6) deposition subpoenas, which was factually inaccurate and

   was not corrected by the Petitioner’s counsel.

11. Thereafter, Magistrate Judge Becerra indicated that depositions should be reset in short order

   (suggesting 7-10 days), whereafter sanctions would be imposed immediately if no

   representative appeared on behalf of the Respondents.

12. In Judge Becerra’s June 8, 2022 Order, the following is stated in regards to the Cross-Motion

   to Compel and these Respondents:

       (1) The Cross Motion to Compel is hereby GRANTED. Respondents were properly served
       and have elected not to appear for deposition. For the reasons stated at the hearing,
       Respondents are hereby ORDERED to provide its corporate representative(s) to appear
       for a deposition and produce documents as requested by the subpoenas.

       (2) The deposition of the representative for Respondent Insight Analysis and Research
       LLC will be on Wednesday, June 15, 2022, at 10:00 a.m., and the deposition of the
       representative for Respondent SDC-Gadot LLC will be on Wednesday, June 15, 2022,
       at2:00 p.m.

       (3) Respondents failure to attend the deposition and/or otherwise comply with the
       subpoenas that have been served could result in SANCTIONS under Rule 37 of the Federal
       Rules of Civil Procedure.

       (4) Should Respondents fail to comply with this Order, Petitioner shall email Chambers to
       set the matter for hearing no later than June 20, 2022, and may file a Motion of no more

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       than 5 pages regarding what sanctions should be imposed for Respondents’ failure to
       comply with this Court’s Order.

       See DE 21.

13. The day after DE 21 was entered, your undersigned counsel filed a Notice of Appearance on

   behalf of the corporate Respondents. See DE 22.

14. Immediately upon appearing in this action, your undersigned began communicating with

   counsel for the Petitioner in good faith to address compliance with the Court’s June 8, 2022

   Order, and to address the discovery sought by the Petitioner in this proceeding. As part of

   those communications, your undersigned again advised the Petitioner’s counsel that no local

   agent exists in the United States for either Respondent, and that a representative is located in

   Israel who may be able to testify.

15. Your undersigned also directly addressed an action taken by the Petitioner that, again, was

   never authorized by this Court.

16. Specifically, immediately after entry of the June 8, 2022 Order, the Petitioner issued two (2)

   entirely new Rule 30(b)(6) notices for deposition for each Respondent. Copies of same

   are attached hereto as Exhibit “1”, for direct comparison with the prior Rule 30(b)(6) notices

   issued by the Petitioner for the prior May 2 and May 3 deposition dates (which are attached

   hereto as Exhibit “2”).

17. Of note, the Petitioner decided to unilaterally expand, with no authorization from the Court,

   the intended scope of inquiry for depositions which Magistrate Judge Becerra had just directed

   (on June 8, 2022) be conducted on June 15, 2022.




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18. This expansion of the Rule 30(b)(6) designations provided the Respondents with only six (6)

   days to procure and prepare potential deponents, with two (2) of those days being an

   intervening Saturday and Sunday.

19. It is a patent deprivation of due process of law for the Respondents to be ordered to produce

   deponents prepared to testify about the matters identified in an expansive new Rule 30(b)(6)

   deposition notice that was served only six (6) days before the intended dates of the depositions,

   and where Court Order and the threat of sanctions have been entered if compliance is not had.

20. This is a proceeding under 28 USC 1782, not a direct action against the Respondents by the

   Petitioner asserting a civil cause of action against them. Other than the assistance of the Court

   in conducting discovery, no other relief was sought in the Petition by the Petitioner as to these

   Respondents.

21. The purpose and point of this action is to assist the Petitioner, as a litigant in foreign

   proceedings in which claims are being brought against third parties (i.e., parties other than the

   Respondents), to obtain relevant information which this Court has determined falls within the

   Court’s discretion to grant after certain factors have been considered by the Court.

22. In the context of a direct civil action, the Courts in the Middle District of Florida have held

   that it is not reasonable to provide notice of new areas of inquiry for a Rule 30(b)(6) deposition

   on only seven (7) days’ notice. See Homes & Land Affiliates, LLC v. Homes & Loans

   Magazine,LLC, 2008 U.S. Dist. LEXIS 108363, 3-4 (M.D. Fla. 2008) ("Defendants also added

   to the Rule 30(b)(6) deposition notice a category that sought gross revenue information

   (category # 15). Doc. No. 35-5.According to Plaintiff, it was served on Plaintiff's registered

   agent corporation less than seven days before the deposition and there was insufficient notice



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   or time to gather the documents showing all of the grosser venues, prepare a witness on the

   matter, and/or file objections or seek a protective order. Doc. No. 36.... Defendants' original

   Notice dated July 7 did not list the documents to be produced; it was not until the Notice

   served on July 21 that the documents were added to the Notice, just seven days before the

   scheduled deposition of July 28, 2008. Such notice was insufficient under Middle District

   Local Rule3.02(a), which required at least ten days notice. Seven days notice also was not

   reasonable as required in the Federal Rules in light of the fact it was served on Plaintiff's

   corporate registered agent located in Weston, Florida, and not simply via a discovery request

   on Plaintiff's counsel (which would have required at least 30 days be allowed for a response).

   For the same reason, Defendants' belated addition of category# 15 seeking gross revenue

   information was untimely served on Plaintiff, left insufficient time for it to adequately prepare

   its corporate representative, and will not be compelled.")

23. This Court previously agreed in In Aircraft Parts Exch., Inc. v. Jet Parts at Cost, Inc., 2013

   U.S. Dist. LEXIS 199662 (S.D. Fla. 2013), wherein this Court granted a protective Order

   where a party sought to set multiple depositions of an opposing party on only five (5) days’

   notice and with intervening holidays complicating the rescheduling of any of the subject

   depositions. “Here, the Court finds that requiring Defendant to prepare for four depositions to

   be taken on the same day (in two different states)1 and upon only five days notice

   is [*3] patently unreasonable. That the depositions are set to occur two days before the

   Thanksgiving holiday and six (6) days before the close of discovery only accentuates the

   unreasonableness. See id. (finding that eleven days notice of Rule 30(b)(6) deposition during

   the Christmas holidays and two weeks before the discovery deadline was unreasonable).



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       Moreover, in setting these depositions upon five days notice, Plaintiff has clearly violated

       Local Rule 26.1(i). This Local Rule requires that a party give at least seven days notice before

       deposing an individual or entity within Florida and at least fourteen days notice before

       deposing an individual or entity outside the state. Indeed, "[f]ailure by the party taking the

       oral deposition to comply with this rule obviates the need for a protective order." S.D. Fla.

       L.R. 26.1(i). Accordingly, Defendant's Motion for Protective Order Requesting that Certain

       Third Party Depositions Not be Held (DE 42) is GRANTED.” See Id.

    24. Here, the Petitioner’s conduct has actually deprived the Court of review of the new proposed

       Rule 30(b)(6) Notices, and has prevented the Court from performing the necessary Intel

       analysis to determine if the new Rule 30(b)(6) Notices are proper and that the discovery sought

       thereby should be allowed1, 2. Moreover, considering the scope of the new Notices, it is clear




1
 Neither Order subject to this Request for Review denotes that an Intel analysis was performed as to the Rule
30(b)(6) Notices of Deposition issued by the Petitioner.
2
  In In re Ex Parte Petition by AG, 2021 WL 5231630 (S.D. Fla. 2021), the Court stated: “To obtain discovery
under 28 U.S.C. 1782, the following threshold showing must be made: the request must be made "by a foreign
or international tribunal," or by "any interested person"; (2) the request must seek evidence, whether it be the
"testimony or statement" of a person or the production of "a document or other thing"; (3) the evidence must be
"for use in a proceeding in a foreign or international tribunal"; and (4) the person from whom discovery is sought
must reside or be found in the district of the district court ruling on the application for assistance. In re Clerici,
481 F.3d 1324, 1331-32 (11th Cir. 2007) (quoting 28 U.S.C. 1782) (footnote omitted). … Even when the statutory
requirements of section 1782 are met, the Court is not required to grant a petition. Intel Corp. v. Advanced Micro
Devices, Inc., 542 U.S. 241, 264, 124 S. Ct. 2466, 159 L. Ed. 2d 355 (2004). The Supreme Court in Intel Corp.
set forth the factors that may inform the district court's discretion in deciding to grant a section 1782 petition. 542
U.S. at 264-65. The discretionary factors that may be considered are as follows: (1) whether the persons from
whom the discovery is being sought are participants in the foreign proceeding; (2) the nature and character of the
foreign proceeding and the receptivity of the foreign tribunal to United States federal judicial assistance; (3)
whether the request is an attempt to circumvent foreign proof-gathering limitations; and (4) whether the discovery
sought is unduly intrusive or burdensome. Id. "The discretionary factors come into play after the statutory
requirements have been satisfied, and they are guideposts which help a district court decide how to best exercise
its discretion." Dep't of Caldas v. Diageo PLC, 925 F.3d 1218, 1223 (11th Cir. 2019).”

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       that they would not pass scrutiny under an Intel analysis (particularly the forth prong), where

       the following are the new proposed areas of inquiry3:

              1. The formation of SDC-Gadot LLC;
              2. The relationship of SDC-Gadot LLC to Insight Analysis and Research LLC;
              3. The relationship of SDC-Gadot LLC to Gadot Information Services;
              4. The identity and roles of all employees, officer, directors, managers, or other
              individuals associated with SDC-Gadot LLC, including but not limited to Amit
              Forlit and Alon Omri Gurlavie;
              5. The identities and roles of any accountants, lawyers, and registered agents used
              by SDC-Gadot LLC, including but not limited to Ari Propis and Shimon
              Goldberger;
              6. The nature of the work performed by SDC-Gadot LLC, who that work was
              performed for, and the individuals and companies used to perform that work;
              7. The nature and extent of the work performed for Stuart Page, Page Group, Page
              Risk Management, or any other entities related to Stuart Page;
              8. The account information related to SDC-Gadot LLC, including details of the
              bank accounts held by SDC-Gadot LLC, details regarding the transactions
              identified in SDC-Gadot LLC’s bank statements, and details regarding the use of
              debit cards held by SDC-Gadot LLC;

              9. The nature and purpose of all transactions conducted by SDC-Gadot LLC,
              including but not limited to transactions conducted with the following entities:
              Insight Analysis & Research LLC; Page Group ME DMCC; Florida IP Telecom
              Inc.; Overseas Consulting; optimizerx; Page Risk Management DMCC; Txt Tecno
              Servicios SA de CV; Blenheim Investment Holding Vietna; Global Impact Services
              LLC; Fusion GPS; Olam Hamachshevim; Aviram Hawk Consultant; Gadot
              Information Services; Sharon Hashimshoni; BMI Analysis Limited; Liv Consulting
              Ltd.; David Shnaider; Mona Tours Ltd.; Ezekiel Golan Intellectual Pro; Dinka
              Analysis Services; KMI Ground Inc.; MMCO LLC t/a Don Rosen Imports; RMDY
              Health Inc.; PandaFace Ltd.; Shira Betzalel; and TPV Inventa Trading S.R.O.
              10. The nature and extent of all business conducted in Florida by SDC-Gadot LLC,
              Amit Forlit, or any other individuals associated with SDC-Gadot LLC, including

3
  The following is taken from the Rule 30(b)(6) Notices sent to SDC-GADOT, LLC, however the Notices sent
to Respondent INSIGHT ANALYSIS AND RESEARCH, LLC is nearly identical but for an alteration of areas
1, 2, 3, 4, 5, 8, 9, 10, 12, and 13 to identify INSIGHT ANALYSIS AND RESEARCH, LLC as opposed to SDC-
GADOT, LLC.

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          but not limited to all transactions with Florida companies, all transactions
          conducted in Florida, and all property owned in Florida.
          11. All work related to Farhad Azima, including but not limited to work regarding
          the investigation of Mr. Azima and others affiliated with Mr. Azima, the hacking
          of Mr. Azima and others affiliated with Mr. Azima, and the obtaining of Mr.
          Azima’s confidential data;
          12. The litigation between Mr. Azima and Ras Al Khaimah Investment Authority
          in both the United States and the United Kingdom, including but not limited to all
          meetings related to that litigation in which an individual associated with SDC-
          Gadot LLC participated;

          13. All interactions between anyone affiliated with SDC-Gadot LLC and anyone
          affiliated with Ras Al Khaimah, Dechert LLP, Stewarts Law, Vital Management
          Services Inc., Grayson + Co. Ltd., Karv Communications, CyberRoot, and Majdi
          Halabi; and
          14. The prior document and deposition subpoenas served in this proceeding and the
          failure to comply with those subpoenas.

25. Of the new proposed areas of inquiry, only areas 11, 12, 13, and 14 are in any way tailored to

   the underlying discovery requested in the filed Petition, or the documents sought pursuant to

   the production subpoenas approved by this Court at DE # 5. The remaining areas of inquiry

   are essentially unlimited, and seek to probe and inquiry about any and all business, employees,

   affiliations, relations, communications with attorneys, and monetary transfers ever conducted

   at any time by the identified Respondent.

26. The Respondents (through the undersigned counsel) advised Petitioner’s counsel of the

   Respondents’ objection to these new proposed areas of inquiry, and sought to address this

   issue when DE 25 and DE 26 were filed on June 14, 2022 (prior to the June 15, 2022 date for

   compliance set by Judge Becerra’s June 8, 2022 Order).

27. The Respondents also timely served (on June 14, 2022) responses to the document production

   subpoenas originally approved by this Court via DE 5. See DE 27 and 28.



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28. The Respondents’ Motion for Extension of Time, and Motion for Protective Order, were then

   denied by an Order of Magistrate Judge Becerra (DE 29) entered less than five (5) hours after

   they were filed.

29. In DE 29, Magistrate Judge Becerra expressly stated the following as the basis for the

   complete rejection and denial of DE 25 and 26:

          “As stated by the Court at the hearing, the Rule 30(b)(6) deposition notices had been
          properly served on Respondents such that Respondents had notice of the deposition
          scheduled for Insight on May 2, 2022 and on Gadot for May 3, 2022. As stated at the
          hearing and memorialized by Order, the Court re-set the depositions for June 15, 2022,
          and explicitly advised of potential penalties should Respondents fails to appear for
          those depositions as set by the Court. Mr. Salivar filed a Notice of Appearance on
          behalf of Respondents on June 9, 2022. ECF No. [22]. Notwithstanding the Court’s
          clear directive concerning possible sanctions for failure to comply with the Order,
          Respondents less than twenty-four hours before the first deposition is set to begin,
          filed the Motion for Extension and Motion for Protective Order. Their counsel, who
          was present during the Court’s hearing, filed a notice of appearance five days ago. This
          requested relief must be rejected as nothing more than a last-minute attempt to thwart
          judicial process.”

30. It is clear from DE 29 that no consideration was given at all to the issue of the new Rule

   30(b)(6) deposition Notices that were unilaterally prepared and served by Petitioner on June

   8, 2022, or the impossibility of the Respondents to locate a representative or representatives

   competent to testify about these new matters (which still have, to this date, not been considered

   by, or approved by, this Court) on only six (6) days’ notice. Magistrate Judge Becerra’s Order

   also commented that the parties had knowledge of the issues raised in the Motion for

   Protective Order “for weeks”, and that if the Motion had been filed even a day earlier, a

   hearing could have been convened to address the Motion. However, this is factually

   inaccurate, as the new Rule 30(b)(6) Notices were issued on June 8, 2022, and were provided




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   at that point for the very first time. This left the Respondents with only four (4) intervening

   business days to retain counsel, and file Motions seeking relief from this Court.

31. Moreover, it is clear that DE 29 did not consider the fact that no local agent of either

   Respondent existed, and that the proposed corporate representative was physically located in

   a foreign jurisdiction (Israel), a fact that was known to the Petitioner prior to June 6, 2022.

32. While your undersigned is abundantly cognizant of, and is actively trying to abide by, the

   expedited time constraints this Court is seeking to place upon completion of discovery in this

   28 USC § 1782 proceeding, the Respondents right to due process cannot be swept aside for

   sake of expediency and convenience. And the filing of a Motion for Extension of Time and

   Motion for Protective Order only three (3) business days after the appearance of counsel was

   in no way an attempt to unnecessarily or improperly delay these proceedings or to thwart

   judicial process.

33. Here, the Petitioner unilaterally expanded (greatly) the Rule 30(b)(6) notices, without ever

   coming before the Court to have a determination made by the Court that the Intel factors

   allowed for such expanded discovery, and the Respondents were left with only six (6) days to

   act (two of which were a Saturday and a Sunday). Petitioner also failed to seek to confer with

   your undersigned about the greatly expanded scope of the June 15, 2022 depositions, despite

   receiving your undersigned’s written objections (as set forth in Exhibit “3” and discussed

   during telephone conversations).

34. Your undersigned would proffer that your undersigned’s efforts to resolve these matters in

   direct discussions with Petitioner’s counsel (as can be seen by Exhibit “3” attached hereto),

   and the timeliness of preparing and filing a Motion for Extension of Time and Motion for



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       Protective Order only three (3) business days after appearing in this action, should not be a

       basis to prejudice the Respondents, but rather a hearing should be convened to grant de novo

       review of the Court’s June 14, 2022 Order, the Court’s June 8, 2022 Order, and to conduct an

       actual hearing before this Court on DE 25 and 26, to determine whether the Intel factors allow

       for, or uphold, the greatly expanded discovery now sought by the Petitioner4.

    35. As noted in the Motion for Protective Order, specific new areas of inquiry go into matters

       which are in no way, shape, or form directed to the Petitioner or the mattes Petitioner has

       indicated are at issue in the UK Proceedings, and Petitioner has made no attempt to even

       discuss how the new areas of inquiry tie into, or are relevant to, the UK Proceedings.

    36. Finally, Respondents would note that a directive of Magistrate Judge Becerra given during the

       June 6, 2022 hearing (i.e., providing a copy of the hearing transcript to the Respondents) was

       never followed by the Petitioner. Per Exhibit “4” attached hereto, your undersigned was sent

       a courtesy copy of the Order entered by Magistrate Judge Becerra on June 8, 2022, as well as

       the newly expanded Rule 30(b)(6) Notices issued by Petitioner’s counsel. However, no copy

       of the June 6, 2022 hearing transcript was enclosed.

    37. Your undersigned was thereafter required to obtain a copy of said transcript directly from the

       appearing court reporter in order to prepare this Objection and Request for Review.

    38. In summation, Respondents assert the following:




4
  As stated by the Honorable Beth Bloom in In re Kurbatova, 2019 U.S. Dist. LEXIS 84030 (S.D. Fla. 2019),
“The Intel factors include: 1) whether the respondents are parties in a foreign proceeding; 2) the nature of the
foreign tribunal, the character of the proceedings abroad, and the receptivity of the foreign tribunal to assistance
from a U.S. federal court, 3) whether [*8] the discovery application conceals an attempt to circumvent foreign
proof-gathering restrictions or other policies of a foreign country or the United States, and 4) whether the request
is intrusive or burdensome.” These factors are to be considered by a Court in addition to whether

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       a. Error was committed in the entry of the June 8, 2022 Order granting the Cross-Motion

          to Compel, as the original Rule 30(b)(6) depositions were never authorized by Order

          of this Court;

       b. Error was committed in the June 14, 2022 Order denying Respondents’ Motion for

          Extension of Time and Motion for Protective Order, as the Court failed to even consider

          a) the short timeframe between issuance of the new and greatly expanded Rule 30(b)(6)

          Notices, b) the date set for the depositions, c) the unavailability of Respondents’

          counsel, d) the unavailability of a local agent for the Respondents, e) the impossibility

          of preparing a deponent in 6 days (with an intervening weekend) on the greatly

          expanded areas of inquiry, f) the fact that no Intel analysis was ever conducted as to

          the new Rule 30(b)(6) notices, g) the fact that this Court’s Order [DE #5] never

          authorized the original Rule 30(b)(6) Notices in the first place, and h) and the Court’s

          admonition that Rule 37 sanctions (including “adverse inferences”) may come into play

          if the Respondents did not produce an agent for depositions on June 15, 2022;

       c. Error was committed by the Magistrate Judge in seeking to reset a deposition of these

          Respondents with insufficient time for them to locate and produce a proper corporate

          representative, and where the Magistrate Judge was already informing Petitioner’s

          counsel to come before the Court within five (5) days if no party appeared on the date

          of the reset depositions.

39. The instant proceeding is not a direct action in which the Petitioner has filed a claim seeking

   an award of damages, injunctive relief, or other civil relief against the Respondents. These

   Respondents are non-parties to the underlying UK proceeding, and this is a statutory



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      proceeding for discovery to obtain documents or materials for use in the aforementioned UK

      proceeding (discovery which is supposed to be relevant to, and attenuated to, the actual claims

      asserted therein by the Petitioner against the foreign party Defendants). As such, “adverse

      inferences” under Rule 37 are not even applicable, as there is no direct action against these

      Respondents for which the inferences would apply, and it would constitute a deprivation of

      due process to grant “inferences” which would be used against the foreign party Defendants

      to support Petitioner’s claims against them (or to prejudice their defenses) where they are not

      parties to this proceeding and they are not being afforded due process themselves.

   40. Moreover, due process requires that the rights and privacy interests of these Respondents be

      considered by this Court, and this Court determine that the discovery material now sought

      (which is greatly beyond what was referenced in the initial Petition) passes an Intel analysis,

      and that in the Court’s discretion it determines that discovery depositions be allowed pursuant

      to the newly expanded Rule 30(b)(6) notices.

   41. Finally, the Cross-Motion to Compel, the Motion for Extension of Time, and Motion for

      Protective Order were all filed and ruled upon by a Magistrate Judge without any Order of

      referral by the District Judge.

   42. For the foregoing issues, this Request for review has been filed within fourteen (14) days of

      each Order identified herein for which review is sought.

      WHEREFORE Respondents, request this Court GRANT this Request for Review, that this

Court set a hearing and hold a de novo review of the rulings of the Magistrate as reflected in DE 21

and DE 29 and thereafter vacate and set aside same, that this Court reconsider and GRANT the

Respondents’ Motion for Extension of Time (DE 25) and Motion for Protective Order (DE 26) after



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a hearing on same, and that this Court GRANT the Respondents such other and further relief as this

Court may deem just and proper.

                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 22nd day of June, 2022, that a true and correct
copy of the foregoing has been filed through the Court’s CM/ECF-filing portal and that a true copy
has been served through the portal upon all counsel of record in this action.

                                                Respectfully submitted,

                                            By: /s/ Christopher S. Salivar, Esq.
                                                Christopher S. Salivar, Esquire
                                                Florida Bar No.: 57031
                                                6576 Whispering Wind Way
                                                Delray Beach, FL 33484
                                                Tel: (561) 628-8908
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